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5
     Attorney for Defendant
6    MARTY MARCIANO BOONE
7
                                IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                   )   Case No. 2:16-cr-020 TLN
                                                 )
11                    Plaintiff,                 )   STIPULATION AND ORDER TO
                                                 )   CONTINUE STATUS CONFERENCE, AND TO
12   vs.                                         )   EXCLUDE TIME
                                                 )
13   MARTY MARCIANO BOONE and                    )   Date: March 10, 2016
     RONDA BOONE,                                )   Time: 9:30 a.m.
14                                               )   Judge: Hon. Troy L. Nunley
                      Defendants.                )
15                                               )
16           IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
17   through Assistant United States Attorney Jared Dolan, attorney for Plaintiff, Heather Williams,
18   Federal Defender, through Assistant Federal Defender Hannah R. Labaree, attorney for Marty
19   Marciano Boone, and Robert Wilson, attorney for Ronda Boone, that the status conference
20   scheduled for March 10, 2016 be vacated and be continued to May 26, 2016 at 9:30 a.m.
21           To date, the government has provided over 14,000 pages of discovery. Defense counsel
22   is expecting 17,000 pages of discovery to be disclosed overall. The grounds for this continuance
23   are that defense counsel would like additional time to review the voluminous discovery that has
24   been and will be produced and to investigate the facts of the case, so to allow time for effective
25   preparation and to negotiate a resolution to this matter.
26           Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
27   excluded of this order’s date through and including May 26, 2016; pursuant to 18 U.S.C. §3161
28   (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based

      Stipulation and Order to Continue Status        -1-
      Conference
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1    upon continuity of counsel and defense preparation.
2    DATED: March 7, 2016                        Respectfully submitted,
3                                                HEATHER E. WILLIAMS
4                                                Federal Defender

5                                                /s/ Hannah R. Labaree
                                                 HANNAH R. LABAREE
6                                                Assistant Federal Defender
                                                 Attorney for MARTY MARCIANO BOONE
7
8    DATED: March 7, 2016                        /s/ Robert M. Wilson
                                                 ROBERT M. WILSON
9                                                Attorney for RONDA BOONE

10
     DATED: March 7, 2016                        BENJAMIN B. WAGNER
11
                                                 United States Attorney
12
                                                 /s/ Jared Dolan
13                                               JARED DOLAN
                                                 Assistant U.S. Attorney
14                                               Attorney for Plaintiff
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      Stipulation and Order to Continue Status     -2-
      Conference
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1                                                 ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including May
9    26, 2016, shall be excluded from computation of time within which the trial of this case must be
10   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv)
11   [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It is further
12   ordered the March 10, 2016 status conference shall be continued until May 26, 2016, at 9:30
13   a.m.
14   Dated: March 7, 2016
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16
                                                              Troy L. Nunley
17                                                            United States District Judge

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      Stipulation and Order to Continue Status        -3-
      Conference
